     Case 1-18-43309-cec        Doc 17     Filed 08/29/18     Entered 08/30/18 14:07:58




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
__________________________________________X
In re:                                                      CHAPTER 13
CEDRIC SAMUEL WILSON                                        CASE NO: 18-43309-CEC

                        Debtor.
__________________________________________X


  ORDER TRANSFERRING CASE TO UNITED STATES BANKRUPTCY COURT IN
   THE SOUTHERN DISTRICT OF NEW YORK PURSUANT TO 28 U.S.C. §1408


       MOTION HAVING BEEN MADE BY Cedric Samuel Wilson (the “Debtor”), through his

attorney, The Law Office of Anthony M. Vassallo, by Notice of Motion dated July 31, 2018 and

supporting application for an Order transferring the above-referenced bankruptcy proceeding to

the United States Bankruptcy Court located in the Southern District of New York pursuant to 28

U.S.C. §1408 (the “Motion”); and it appearing that said Motion having been served upon Michael

Macco, the Chapter 13 Trustee, the United States Trustee and all other parties entitled to receive

notice of said Motion; and said Motion having been scheduled to be heard by the Honorable Carla

E. Craig, United States Bankruptcy Judge on August 14, 2018 at 11:30 a.m.; and Anthony

Vassallo, Esquire, attorney for the Debtor, having appeared in support thereof; and Michael

Macco, the Chapter 13 Trustee having appeared at the hearing; and after due deliberation having

been had thereon and good and sufficient cause having been shown, it is

       ORDERED, that the above-captioned bankruptcy case shall be transferred to the United

States Bankruptcy Court, Southern District of New York; and it is further
     Case 1-18-43309-cec        Doc 17     Filed 08/29/18     Entered 08/30/18 14:07:58




       ORDERED, that the Clerk of the Court is directed to take the necessary steps to effectuate

the transfer of the above-referenced case to the United States Bankruptcy Court, Southern District

of New York including transferring the necessary file.




                                                              ____________________________
 Dated: Brooklyn, New York                                            Carla E. Craig
        August 29, 2018                                       United States Bankruptcy Judge
